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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

  ORDER REGARDING ISSUES DISCUSSED AT THE MARCH 18,
            2020 TELEPHONIC CONFERENCE

       On March 18, 2020, the Court held a telephonic hearing and now

 orders the following:

       (1) Co-liaison Counsel and Defendants are to meet and confer about

          the possibility of further bellwether pool reduction. They will

          report back to the Court by April 1, 2020 on how the parties wish

          to proceed.

       (2) From now until close of business on April 1, 2020, all scheduled

          depositions in the Flint Water Cases are adjourned. By April 1,

          2020, the parties will submit an agreed-upon deposition protocol
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          outlining how depositions will proceed in light of the public

          health issues caused by COVID-19.

       IT IS SO ORDERED.

 Dated: March 20, 2020                     s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on March 20, 2020.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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